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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

RACHEL PUGLISI                             :
                                           :
V.                                         : CIVIL NO. 3:14CV805(VLB)
                                           :
DCN HOLDINGS, INC. d/b/a ACCOUNTS          :
RECEIVABLE, KARLA BROWN a/k/a              :
KARLA FICKA, JASON GOLDSTEIN               :
a/k/a WILLIAM T. FICKA III                 :

                              DEFAULT JUDGMENT

      The defendants having failed to appear, plead or otherwise defend in this

action and a default under Fed.R.Civ.P. 55(a) having been entered on August 22,

2014; and

      The plaintiff having filed a Motion for Default Judgment pursuant to Rule

55(b) of the Federal Rules of Civil Procedure, and the Court having granted the

motion; it is hereby


      ORDERED, ADJUDGED and DECREED that judgment be and hereby is

entered against defendants in the total amount of $4,056.84, which includes

statutory damages of $1,000, attorney's fees of $2,400, and costs of $656.84.


      Dated at Hartford, Connecticut, this 10th day of March, 2015.


                                      ROBIN TABORA, Clerk


                                      By     /s/LL
                                             Loraine LaLone
                                             Deputy Clerk
EOD: 3/10/2015
